     Case 4:16-cr-00353-WTM-GRS Document 187 Filed 03/27/17   Page
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                                                         '"'HMAR?? Pij2:Ii5
                IN THE UNITED STATES DISTRICT COURT. FqR__^
                   THE SOUTHERN DISTRICT OF GEORGIATT^^^^"^
                             SAVANNAH DIVISION


UNITED STATES OF AMERICA,


V.                                               Case No.     CR416-353


JAVAN MYRICK,
                   Defendcuat.




       Samuel G. Oliver, counsel of record for defendant Javan Myrick

in the above-styled case has moved for leave of absence.                    The Court

is mindful that personal and professional obligations require the

absence    of    counsel on occasion. The Court, however, cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

       Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and                  trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.

                                 -fC
       SO ORDERED this ,^7"day of March 2017.



                                                     RE,^.
                                       WILLIAM T. MOORE,
                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA
